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   Grigor Demirchyan, and Marina Demirchyan
14
15
                               UNITED STATES DISTRICT COURT
16
                             CENTRAL DISTRICT OF CALIFORNIA
17
                                        WESTERN DIVISION
18
19
   Consumer Financial Protection                 Case No.2:15-cv-09692-PSG(Ex)
20 Bureau,
                                                 Hon. Philip S. Gutierrez
21
                                                 DEFENDANTS'RESPONSE TO
22                       Plaintiff,              DAVIT GASPARYAN'S MOTION
                                                 TO CONSOLIDATE PRETRIAL
23          v.                                   PROCEEDINGS IN RELATED ACTIONS;
                                                 MEMORANDUM OF POINTS AND
24 D and D Marketing,Inc., d/b/a                 AUTHORITIES AND DECLARATION OF
   T3Leads, Grigor ISemirchyan, and              HERBERT P. KUNOWSKI IN SUPPORT
25 Marina Demirchyan,
26                                               Hearing Date:       April 17, 2017
                                                 Hearing Time:       1.30 p.m.
27                       Defendants              Courtroom:          6A
                                                 Courthouse:         First Street
28

           DEFENDANTS' RESPONSE TO DAVIT GASPARYAN'S MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS
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 1           Defendants, D and D Marketing, Inc., dlb/a T3 Leads, Grigor Demirchyan, and
 2
     Marina Demirchyan (collectively "Defendants"), hereby submit their response to the
 3
 4   motion to consolidate pretrial proceedings in related cases, which motion was filed by

 5   Defendant, Davit Gasparyan ("Gasparyan") in (1) the instant case;(2) the case against
 6
     Gasparyan under this Court's Case No. 2:16-cv-2725-PSG(Ex); and (3)the case against
 7
 8 Defendant, Dmitry Fomichev ("Fomichev"), under this Court's Case No. 2:16-cv-2724-
 9 PSG(Ex). All three cases were brought by Plaintiff, Consumer Financial Protection
10
   Bureau (the "Bureau"), as separate actions in this Court.
11
12                MEMORANDUM OF POINTS AND AUTHORITIES

13      I.        PREFATORY STATEMENT
14
             As a preliminary matter, Defendants note that Gasparyan's motion to consolidate
15
16   pretrial proceedings was electronically filed improperly on February 14 in the separate

17 cases against Defendants and Fomichev, without administratively creating Gasparyan as
18
   a "new party" in those two cases, such that it appears in the Court's dockets therein as if
19
20 Defendants and Fomichev are the moving parties, which they are not. Nevertheless,
21   Defendants note in this response that they are not opposing the specific relief sought by
22
     Gasparyan to consolidate pretrial proceedings, including discovery. However, as set
23
24 forth herein, they do vigorously oppose and object to consolidation for all purposes,
25
     including trial, which the Bureau has requested in its early response filed on February 17
26
     to Gasparyan's motion.
27
                                                 2
28         DEFENDANTS' RESPONSE TO DAVIT GASPARYAN'S MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS



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 1           In that regard, Defendants also note here that despite the Bureau knowing that
 2
     Gasparyan's motion was filed in all three of its related cases, the Bureau only filed its
 3
 4 early response in its case against Gasparyan, clearly seeking to prevent Defendants from
 5   prematurely knowing, for purposes of their own response, the Bureau's position that it
 6
     was not only to seeking full consolidation, but also seeking to orchestrate a calculated,
 7
 8   preemptive strike against this Court: (1) coordinating the hearings on the motions for

 9 certification of appeal and stay in all three cases to March 27; and (2) coordinating the
10
   Scheduling Conferences in all three cases to April 27. (See Bureau's Response to
11
12 Gasparyan's Motion to Consolidate, pp.3-4, filed in Bureau's case against Gasparyan as
13   D.E. 60 on February 17). Defendants only discovered this subterfuge by checking the
14
     docket for the status of the Bureau's separate case against Gasparyan, and admonished
15
16 the Bureau on February 23 to not let this happen again. (See attached Declaration of
17 Kunowski, ¶ 2).
18
        On March 22, the Bureau finally filed its responses to Gasparyan's motion in the
19
20 instant case and in its case against Fomichev, incorporating and attaching as e~ibits the
21   same response that it had previously filed in its case against Gasparyan, but changing its
22
     proposed order from the one that it had previously submitted in its case against
23
24 Gasparyan to reflect that its attempt at a preemptive strike against the Court coordinating
25
     matters on the Court's own motion was now moot.(See D.E. 77, 77-1, and 77-2 in the
26
     instant case; and D.E. 54, 54-1, and 54-2 in the case against Fomichev).
27
                                                3
28        DEFENDANTS' RESPONSE TO DAVIT GASPARYAN'S MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS



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 1       II.      THIS COURT SHOULD REJECT THE BUREAU'S REQUEST TO
 2                CONSOLIDATE         THE     THREE       RELATED         CASES      FOR         ALL
 3                PURPOSES,INCLUDING TRIAL, GIVEN THE RISK OF PREJUDICE
 4                AND THE NEED FOR A FAIR AND IMPARTIAL TRIAL
 5             As said, while Defendants do not oppose consolidation solely for purposes of
 6
     pretrial proceedings, including discovery, they do vigorously oppose and object to the
 7
 8 Bureau's request that the cases be consolidated for all purposes, including trial.
 9             Notably, the Court's "discretion to consolidate is not unfettered. Considerations
10
     of convenience and economy must yield to a paramount concern for a fair and impartial
11
12 trial." Malcolm v. National Gypsum Co., 995 F.2d 346, 350 (2°d Cir. 1993), quoting,
13 Johnson v. Celotex Corp., 899 F.2d 1281, 1284-85(2nd Cir. 1990), cent. denied, 498 U.S.
14
   920, 112 L.Ed.2d 250, 111 S.Ct. 297 (1990). See, also, Flintkote Co. v. Allis-Chalmers
15
16   Corp., 73 F.R.D. 463, 464-65 (S.D.N.Y. 1977)("consolidation should not be ordered if

17   it would prejudice defendant, for considerations of convenience and economy must yield
18
     to the interest ofjustice in a fair and impartial trial.") Indeed,"[c]are must be taken that
19
20 consolidation does not result in unavoidable prejudice or unfair advantage." Cantrell v.
21
     GAF Corp., 999 F.2d 1007, 1011 (6th Cir. 1993). In that regard, "it is possible to go too
22
     far in the interests of expediency and to sacrifice basic fairness in the process. Malcolm,
23
24 995 F.2d at 354. At the same time, consolidation for purposes of pretrial proceedings
25
     only is a recognized alternative to consolidation for all purposes. Barraford v. T&N Ltd.,
26
     778 F.3d 258, 263 n.8 (1St Cir. 2015).
27
                                                4
28        DEFENDANTS' RESPONSE TO DAVIT GASPARYAN'S MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS



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 1           Here, the Bureau's position in seeking consolidation for all purposes is expressly
 2
     designed to prejudice Defendants and gain an unfair advantage at trial -the very factors
 3
 4 that weigh against consolidation for all purposes and which this Court must refuse to
 5   allow. The Bureau's motivation here is already reflected in this Court's record, with the
 6
     Bureau seeking to exploit, for its own improper advantage, the litigation pending
 7
 8   between Gasparyan and Defendants in the Los Angeles County Superior Court. (See

 9 Bureau's Request for Judicial Notice in Support of Opposition to Defendants' Motion to
10
   Dismiss, D.E. 49; Declaration of Barry Reiferson in Support of Bureau's Request for
11
12 Judicial Notice, 49-1). There, the Bureau sought to have this Court take judicial notice
13   of excerpts from the complaint and cross-complaint in those two state court cases arising
14
     from the ownership and management of D and D Marketing, Inc.,' as well as from
15
16   deposition testimony in a third state court case between Marina Demirchyan and

17 Fomichev.
18
        In closing monitoring those cases, the Bureau is fully cognizant of the severe
19
20 animosity and hostility that exists between the defendants that has nothing whatsoever to
21   do with the substance of the Bureau's cases against them. Nevertheless, the Bureau will
22
     undoubtedly continue to seek to exploit the internal divisions and adverse positions
23
24
   1 The dockets from those two cases brought in the Los Angeles County Superior Court
25 under Case Nos. BC554306 and BC585895 reveal the extensive pleadings, claims and
   counterclaims filed in the very heated litigation that was first initiated by Gasparyan
26 against Defendants in August 2014 and includes Fomichev as a party, and which
   remains pendin~g to this day. See Los Angeles County Superior Court dockets available
27 online under "Case Summary' at www.lacourt.org).
                                                5
28        DEFENDANTS' RESPONSE TO DAVIT GASPARYAN'S MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS



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 1   taken between them to Defendants' irreversible prejudice should a future consolidated
 2
     trial take place with them in this Court. Indeed, the Bureau's opposition to Defendants'
 3
4    motion for certification of appeal and stay, as well at its response to Gasparyan's instant

 5   motion to consolidate, further reflect the Bureau's strategy to exploit the differences
6
     between Defendants, Gasparyan and Fomichev, and attempt to "paint with a broad
 7
 8   brush" in attributing alleged misconduct and dilatory tactics to Defendants. (See

 ~~ Declaration of Barry Reiferson in Support of Bureau's Opposition to Motion for
10
    Certification of Interlocutory Appeal and Stay, D.E. 73-1; Bureau's Response to
11
12 Gasparyan's Motion to Consolidate, pp.3-4, filed in Bureau's case against Gasparyan as
13 D.E. 60). This Court can fully expect the Bureau to continue with its calculated effort to
14
   prejudice Defendants and obtain an unfair advantage at a consolidated trial should this
15
16 Court allow consolidation for all purposes here, and must soundly reject the Bureau's
17 attempt to deny Defendants the fair and impartial trial to which they are entitled.
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21   ///
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28         DEFENDANTS' RESPONSE TO DAV1T GASPARYAN'S MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS



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 1       III.     CONCLUSION
2
             For the foregoing reasons, Defendants respectfully request this Court not to order
3
4 consolidation of the three related cases for all purposes, and to deny the consolidation of
5    such cases for trial.
6
7 Dated: March 27, 2017                          WILSON,ELSER,MOSKOWITZ,
                                                   EDELMAN &DICKER LLP
8
9
10                                           By /s/Herbert P. Kunowski
11                                                 Herbert P. Kunowski

12                                           Attorneys for Defendants,
                                             D and D Marketing, Inc., d/b/a T3Leads,
13                                           Grigor Demirchyan, and Marina Demirchyan
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28        DEFENDANTS' RESPONSE TO DAVIT GASPARYAN'S MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS



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 1                      DECLARATION OF HERBERT P. KUNOWSKI
 2
             I, Herbert P. Kunowski, declare as follows:
 3
 4           1.    I am an attorney at law duly licensed and admitted to practice before all the

 5   courts in the State of California, including this U.S. District Court, and a member of the
 6
     law firm of Wilson, Elser, Moskowitz, Edelman &Dicker LLP, counsel of record for
 7
 8 Defendants, D and D Marketing, Inc., d/b/a T3 Leads, Grigor Demirchyan, and Marina
 9 Demirchyan (collectively "Defendants"), in the above-captioned action brought by
10
   Plaintiff, Consumer Financial Protection Bureau (the "Bureau"). I have personal
11
12 knowledge of the matters stated herein, and could and would competently testify to the
13 following under oath.
14
         2.    On February 23, 2017, after learning that the Bureau had filed an early
15
16 response on February 17 to the motion to consolidate pretrial proceedings filed by
17 Defendant, David Gasparyan ("Gasparyan"), and which I only discovered by reviewing
18
   this Court's docket for the status of the Bureau's separate case against Gasparyan, I
19
20 advised the Bureau's counsel, Barry Reiferson, that when the Bureau files a response to
21   a motion that has been filed in all three of its related cases, as with Gasparyan's motion,
22
     the Bureau should file its response in its cases against Dmitry Fomichev and my clients
23
24   as well, and serve all parties, not just Gasparyan, with a copy of the Bureau's position. I
25
     noted to Mr. Reiferson that the Bureau had done not do so with its response filed on
26
27
28                                               s
           DEFENDANTS' RESPONSE TO DAVIT GASPARYAN'S MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS



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 1   February 17 to Gasparyan's motion, and requested Mr. Reiferson to ensure that my
 2
     clients were properly notified in the future.
 3
4            I declare under penalty of perjury under the laws of the United States of America

 5   that the foregoing is true and correct this 27th day of March 2017 at Los Angeles,
6
     California.
 7
 8
                                             By: /s/Herbert P. Kunowski
9                                                Herbert P. Kunowski, Declarant
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          DEFENDANTS' RESPONSE TO DAVIT GASPARYAN'S MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS



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